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                                 August 10, 2016

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                  UNITED STATES DISTRICT COURT FOR THE
                     CENTRAL DISTRICT OF CALIFORNIA

     T.P., et al.,
           Plaintiffs,
     vs.                                     CASE NO.: 15-cv-5346-R

     WALT DISNEY PARKS AND
     RESORTS U.S., INC.,
           Defendant.
     _________________________________________/


     Deposition of:      KETAN J. SARDESHMUKH

     Date:               August 10, 2016

     Time:               10:00 a.m. to 3:13 p.m.

     Location:           Orlando Office Center
                         Bank of America Building
                         390 North Orange Avenue
                         Suite 2300
                         Orlando, Florida 32801

     Reported By:        Jean Rohrer,
                         Registered Professional Reporter,
                         Certified Realtime Reporter,
                         Notary Public, State of Florida at Large




                              Stratos Legal Services
                                   800-971-1127
                                       Exhibit 1
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                                                                             Page 2
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 1   whether or not we had posted attraction wait times that
 2   exceeded a certain threshold, or below a certain
 3   threshold.       What we did was say, let's look at the
 4   entirety of wait time posts that were done over that
 5   date range, and try to then better understand, were
 6   there instances, how frequently were there instances,
 7   that met certain thresholds.
 8           Q      What thresholds?
 9           A      You know, I don't remember them off the top of
10   my head.       I think one of the thresholds might have been,
11   you know, round numbers, so how frequently might we have
12   posted wait times relative to all of the wait times we
13   posted below 15 minutes, below 30 minutes, below an
14   hour.       But I would need to double-check that in looking
15   at what we produced.        I don't remember if those are the
16   exact thresholds.
17           Q      Did you have data available to you at that
18   time that would have provided you with actual wait time
19   reports in contrast to posted time reports?
20           A      I think you asked two things.    One was on, did
21   we have the actual wait time reports and did we do a
22   comparison of the two.
23           Q      Yeah.   I didn't mean to ask two questions, but
24   that's a good point.        Did you have data that would have
25   provided for you actual wait time reports?



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 1           A      There is data on actual wait times that we
 2   have.       As part of what we looked at for that request, we
 3   did not do a comparison of variance between actual and
 4   posted wait times, no.
 5           Q      What is the database called which contains
 6   posted wait times?
 7           A      Posted wait times reside in the database
 8   called -- the system is called Op Sheet.         Capital O-p,
 9   capital S-h-e-e-t.
10           Q      What's the database called that would contain
11   actual wait time data?
12           A      That database is the same database.
13           Q      Is FLIK a database?
14           A      FLIK has -- FLIK is a system we use to be able
15   to measure wait times.       We have things that are called
16   FLIK cards that are the instrument to which actual wait
17   times are assessed.       So I will commonly have heard
18   someone say, we're using FLIK, and it is referring to
19   the card.
20                  That data is logged and stored in a system
21   that ultimately feeds into Op Sheet.        I don't know the
22   formal name of that intermediary system.         I have
23   generally referred to it as FLIK.
24           Q      Is FLIK an application one uses to extract
25   data from Op Sheet?



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 1   much traffic we would want to plan on having in the
 2   FastPass queue.
 3         Q     Is there a standard procedure that you made an
 4   attempt at all times to keep the FastPass wait time at
 5   ten minutes or less?
 6




 9         Q     Was -- as you recall it, was that ten minute
10   threshold for FastPass queues in the operating
11   guidelines?
12         A     I couldn't answer that.      I didn't write the
13   OG's and wouldn't look at them to determine inventory
14   availability for FastPass.
15         Q     As I use operating guidelines, those are
16   actually a resource tool of a different group than you?
17   That's the park personnel?
18         A     Correct.
19         Q     Okay.
20         A     There is a group that focuses on training.         I
21   was not part of that group.
22         Q     Is there similarly a standard procedure or
23   goal by which Disney hopes to still have positive
24   FastPass inventory at 10:00 a.m.?
25         A     I'm not sure I understand the question.



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